Case 3:17-cv-00072-NKM-JCH Document 480 Filed 04/26/19 Page 1 of 4 Pageid#: 4938


Description Appearance Sheet for the United States District Court Western District of Virginia
              Charlottesville Division; Sines v. Kessler.; Case no.: 3:17CV72; Date:4/26/19; Type
              of Hearing: Telephonic Motion Hearing; Parties: 1. Joel C. Hoppe, USMJ; 2. Michael
              Bloch,3. Alan Levine, 4. Jessica Phillips, 5. Roberta Kaplan, 6. Edward ReBrook, 7.
              Jeff Schoep; Recorded by: Heidi N. Wheeler; Time in Court: 36 min


Date          4/26/2019 Location [CVILLE-3FTR]
Case 3:17-cv-00072-NKM-JCH Document 480 Filed 04/26/19 Page 2 of 4 Pageid#: 4939
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

   Time           Speaker                                     Note
2:04:20 PM    1
2:04:24 PM    2             Michael Bloch
2:04:33 PM    3             Alan Levine
2:04:39 PM    4             Jessica Phillips
2:04:45 PM    5             Roberta Kaplan
2:04:50 PM    1
2:04:57 PM    6             Edward Rebrook
2:05:03 PM    1
2:05:05 PM    7             Jeff Schoep
2:05:12 PM    1
2:06:12 PM    1,2
2:06:22 PM    2
2:07:30 PM    1
2:07:35 PM    2
2:08:17 PM    1
2:08:19 PM    2
2:08:50 PM    1
2:09:13 PM    2
2:09:42 PM    1
2:10:02 PM    2
2:11:28 PM    1,2
2:11:49 PM    1
2:12:04 PM    6
2:12:30 PM    1
2:12:35 PM    6
2:12:44 PM    1
2:13:44 PM    7
2:13:45 PM    1
2:13:57 PM    2
2:14:19 PM    6
2:14:46 PM    1
2:15:10 PM    7
2:15:51 PM    1
2:17:12 PM    5
2:17:22 PM                  unidentified
2:17:27 PM    1
2:18:10 PM    6
2:18:15 PM    1
2:18:28 PM    6
2:19:18 PM    1
2:21:16 PM    6
2:21:20 PM    1


4/26/2019                                                                                      2 of 4
Case 3:17-cv-00072-NKM-JCH Document 480 Filed 04/26/19 Page 3 of 4 Pageid#: 4940
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

2:22:28 PM    6
2:22:37 PM    1
2:23:31 PM    2
2:24:28 PM    7
2:24:29 PM    1,7
2:24:37 PM    1
2:25:19 PM    6
2:25:49 PM    1,6
2:26:28 PM    6
2:27:11 PM    2
2:28:07 PM    1
2:28:50 PM    2
2:29:06 PM    1
2:29:35 PM    2
2:30:38 PM    1
2:31:07 PM    2
2:31:11 PM    1
2:31:30 PM    2
2:31:44 PM    6
2:32:10 PM    2
2:32:24 PM    6
2:32:26 PM    1
2:34:01 PM    2
2:34:09 PM    1
2:34:32 PM    6
2:34:46 PM    1
2:35:13 PM    6             Twitter account
2:35:24 PM    1
2:35:27 PM    6
2:35:53 PM    1
2:36:55 PM    6
2:36:57 PM    1
2:37:10 PM    2
2:37:21 PM    1             Laptop
2:37:52 PM    2
2:37:57 PM    1
2:38:00 PM    2
2:38:14 PM    1             Attorney fees
2:38:30 PM    2             Will put that on hold
2:38:42 PM    1             Attorney fees taken under advisement
2:39:31 PM    2
2:39:33 PM    1
2:39:35 PM    6


4/26/2019                                                                                      3 of 4
Case 3:17-cv-00072-NKM-JCH Document 480 Filed 04/26/19 Page 4 of 4 Pageid#: 4941
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

2:39:37 PM 1
2:39:52 PM 1,2,6
2:40:02 PM END




4/26/2019                                                                                      4 of 4
